     Case 2:13-cr-00130 Document 295 Filed on 03/11/13 in TXSD Page 1 of 1




                          UNITED STATES DISTRICT COURT
                       IN THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §            Case No. 2:13-cr-130
                                                  §
STEPHANIE DEMING, et al.                          §


                                     DISCOVERY ORDER


       Discovery obligations of the United States are set forth in Brady v. Maryland, 83 S.Ct. 1194

(1963), United States v. Giglio, 92 S.Ct. 763 (1972), 18 U.S.C. § 3500, Federal Rule of Evidence

404(b)(2), and Federal Rules of Criminal Procedure 12(b)(4), 12.1(b), 16, and 26.2. Compliance

by the United States is ordered without the necessity of the defendants having to file written motions

with the Court.

       No motion for discovery shall be filed until the United States has denied discovery and a

certification to that denial is made with the motion. Requests to the United States for discovery shall

not be filed with the Court.



       ORDERED this 11th day of March, 2013.




                                             ____________________________________
                                              HAYDEN HEAD
                                              SENIOR UNITED STATES DISTRICT JUDGE
